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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                   Case No. 1:13-cr-223-02
v.
                                                   HONORABLE PAUL L. MALONEY
MICHAEL EUGENE HEAD,

                  Defendant.
_________________________________/



                         MEMORANDUM OPINION AND ORDER

       Defendant Michael Eugene Head has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug

quantity, and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective

November 1, 2014. U.S.S.G. § 1B1.10(c).

       However, Amendment 782 provides defendant with no relief. Pursuant to U.S.S.G. §

5G1.2(d), the defendant was sentenced to consecutive terms of imprisonment of 36 months on

Count One (Misprision) and 48 months on Count Two (Unlawful Use of a Communication

Facility), resulting in a guideline sentence of 84 months. The application of Amendment 782
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does not retroactively lower the sentencing guideline range. Accordingly,

       IT IS HEREBY ORDERED that Defendant Michael Eugene Head’s motion

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 216) is DENIED.




Date: February 11, 2015                      /s/ Paul L. Maloney
                                            Paul L. Maloney
                                            Chief United States District Judge
